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EASTERN DISTRICT 0F TEXAS m Disi\é§j}g;cr*r;;,?
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UNITED STATES oF AMERICA BV 04 WD 0 gap
v J.
V DEPan' MALA/’VD (YE
CRIMINAL CQDL`AIN\T HK
ANsoN CHI "\

CASE NUMBER: 4:12mj253

l, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief.

On or about June 18, 2012, in the Eastern District of Texas, Anson Chi, defendant,
knowingly possessed a firearm, to wit, a destructive device manufactured through the
use of chemicals and a combination of parts intended for use in converting a readily
assembled explosive, not registered to him in the Nationa| Firearms Registration and
Transfer Record, in violation of 26 U.S.C. §§ 5845, 5861(d), and 5871.

| further state that l am a Detective with the Plano Police Department assigned as a Task
Force Officer with the North Texas Joint Terrorism Task Force at the Federal Bureau of investigation

(FB|) and that this complaint is based on the following facts:

See attached Affida'vit of Task Force Officer James Wofford, which is incorporated and made
a part hereof by reference.

Continued on the attached sheet and made a part hereof: XX Yes No

 

Task Force Officer
Federal Bureau of investigation

Sworn to before me and subscribed in my presence, on this 20th day of June, 2012, at Plano, Texas.

DON D. BUSH
UN|TED STATES MAG|STRATE JUDGE
Name & Title of J udicial Offlcer Signature of Judicial Officer

 

